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                                                     UNITED STATES DISTRICT COURT
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                                                               DISTRICT OF NEVADA
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                                                                        2:12-CR-463 JCM (VCF)
                  8       UNITED STATES OF AMERICA,

                  9                       Plaintiff(s),
                10        v.
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                          FREDERICK V. WILLIAMS, et al.,
                12
                                          Defendant(s).
                13
                14                                                   ORDER
                15             Presently before the court is defendant Frederick Vernon Williams’ “motion in opposition
                16      to continuance of trial.” (Doc. # 298). This document is actually a response to co-defendant
                17      Jacqueline Louisa Gentle’s motion to continue the trial date (doc. # 287) which was joined in by co-
                18      defendants Carolyn Shelmadine Willis-Casey (doc. # 289) and Denise Allison Williams (doc. # 291).
                19             Trial in this matter was previously scheduled to begin on July 28, 2014. Upon motion of the
                20      aforementioned co-defendants, this court granted a final continuance (doc. # 292). Although the
                21      court did not receive defendant Frederick Williams’ instant “motion” until the day of the previously
                22      scheduled trial date, it did anticipate he would object and took his position into consideration in
                23      granting the continuance. Therefore, to the extent the instant “motion” seeks relief in the form of
                24      a shorter continuance, it is denied.
                25      ...
                26      ...
                27      ...
                28
James C. Mahan
U.S. District Judge
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                  1            Accordingly,
                  2            IT IS HEREBY ORDERED, ADJUDGED, and DECREED that Frederick Vernon Williams’
                  3     motion in opposition (doc. # 298) be, and the same hereby is, DENIED.
                  4            DATED August 4, 2014.
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                                                            UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                 -2-
